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 7                                   U.S. DISTRICT COURT

 8                       NORTHERN DISTRICT OF CALIFORNIA

 9                                 SAN FRANCISCO DIVISION
10

11   MEDIA CHAIN, LLC,                           NO. 3:21-cv-009528-AGT

12                    Plaintiff,                 [PROPOSED] ORDER GRANTING
                                                 MOTION TO WITHDRAW PHILIP
13        v.                                     SANOV AS COUNSEL FOR
                                                 PLAINTIFF
14
     ROKU, INC.,
                                                 Honorable Edward M. Chen
15
                      Defendant.
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     [PROPOSED] ORDER GRANTING                          CASE NO. 3:21-CV-009528-AGT
     MOTION TO WITHDRAW
            Case 3:21-cv-09528-EMC Document 82-1 Filed 02/25/22 Page 2 of 3




 1          Phillip Sanov, Esq., of the law firm of Morgan & Morgan, P.A. (“Counsel”), seeks to
 2   withdraw as counsel for Plaintiff in the above-captioned litigation pursuant to Local R. 11-5(a)
 3
     and Cal. R. Prof. conduct 3-700(C)(5).         As this Court finds that Counsel has submitted
 4
     satisfactory reasoning for withdrawal, and that the granting of his Motion will not cause
 5
     substantial prejudice or delay to any party.
 6

 7          IT IS HEREBY ORDERED that Phillip Sanov, Esq., of the law firm of Morgan &

 8   Morgan, P.A. is GRANTED, and counsel is hereby terminated as counsel in this proceeding.

 9
     DATED: _______________                         By:    ____________________
10
                                                           Hon. Edward M. Chen
11                                                         United States District Court

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      [PROPOSED] ORDER GRANTING                                   CASE NO. 3:21-CV-009528-AGT
      MOTION TO WITHDRAW
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        Case 3:21-cv-09528-EMC Document 82-1 Filed 02/25/22 Page 3 of 3




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     [PROPOSED] ORDER GRANTING                   CASE NO. 3:21-CV-009528-AGT
     MOTION TO WITHDRAW
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